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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division


 Intersections Inc. and Net Enforcers, Inc.,

                        Plaintiffs,                      Civil Action No. 1:09CV597 (LMB/TCB)
                   v.

 Joseph C. Loomis and Jenni M. Loomis,

                        Defendants.


            PLAINTIFFS’ MEMORANDUM IN SUPPORT OF THEIR
   MOTION TO SEAL TRANSCRIPT OF PROCEEDINGS HELD ON AUGUST 6, 2010

         Plaintiffs Intersections Inc. and Net Enforcers, Inc. (collectively, “Plaintiffs”) respectfully

 request that the Court enter an Order sealing the transcript of the proceedings held before the

 Honorable Theresa Carroll Buchanan on August 6, 2010. In support of this Motion, Plaintiffs

 state as follows:

         1.        On June 17, 2010, the Court ordered the parties in this action to file briefs

 regarding the enforceability of the settlement agreement entered into between and amongst the

 parties on January 14, 2010, and to schedule an evidentiary hearing before the Honorable

 Theresa Carroll Buchanan.

         2.        On August 6, 2010, Judge Buchanan held proceedings regarding the

 enforceability of the settlement agreement.

         3.        Pursuant to the terms of the settlement agreement, the terms of the settlement

 agreement are to be kept confidential except as required by law, potential acquirers, advisors,

 and accountants.




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         4.        The transcript of the proceedings held before Judge Buchanan on August 6, 2010

 (the “Transcript”) contains detailed information concerning the terms of the settlement

 agreement. This information is, by agreement of the parties, to be kept confidential.

         5.        Public disclosure of the confidential information contained in the Transcript

 would violate the express terms of the settlement agreement.

         6.        Ashcraft v. Conoco, Inc., 218 F.3d 288, 302 (4th Cir. 2000), sets forth the legal

 standard that this Court must apply when determining whether it is appropriate to order the

 sealing of documents. It states that before entering an Order to seal, a district court must “(1)

 provide public notice of the request to seal and allow interested parties a reasonable opportunity

 to object, (2) consider less drastic alternatives to sealing the documents, and (3) provide specific

 reasons and factual findings supporting its decision to the seal the documents and for rejecting

 the alternatives.”

         7.        Plaintiffs’ motion to seal has been docketed for hearing on Friday, August 27,

 2010, thus providing public notice and a reasonable opportunity for interested parties to object.

         8.        Redacting the information from the Transcript is not a viable option, given that

 the entire focus of the proceedings was the enforceability and terms of the settlement agreement.

 There thus are no less drastic alternatives to sealing the Transcript.

         9.        The third Ashcraft consideration also is easily satisfied. On August 6, 2010, the

 Court held proceedings regarding the enforceability of the settlement agreement entered into

 between and amongst the parties on January 14, 2010. The parties agreed that the terms of the

 settlement agreement would be kept confidential.            The Transcript contains confidential

 information regarding the terms of the settlement agreement.




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           10.     Counsel for Defendant Jenni M. Loomis has indicated that Jenni Loomis joins in

 this motion. Counsel for Defendant Joseph C. Loomis has indicated that Joseph Loomis joins in

 this motion without waiving his position on sealing as set forth in his prior motion to seal filed

 herein.

           WHEREFORE, Plaintiffs respectfully request that the Court enter an Order sealing the

 transcript of the proceedings held before the Honorable Theresa Carroll Buchanan on August 6,

 2010.

 Dated: August 16, 2010                         Respectfully submitted,


                                                By:       /s/
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 16th day of August, 2010, I will electronically file the

 foregoing Plaintiffs’ Memorandum in Support of their Motion to Seal Transcript of Proceedings

 Held on August 6, 2010 with the Clerk of the Court using the CM/ECF system, which will then

 send a notification of such filing (NEF) to the following:


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